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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
J.R.                                       )
                                           )
               Plaintiff,                  )  Case No. 1:19-cv-8145
                                           )
        v.                                 )  The Honorable Robert M. Dow, Jr.
                                           )
Board of Education of the City of Chicago, )  Magistrate Judge Sidney I. Schenkier
Legal Prep Charter Academics and Jamel M. )
Hellaire-Jones                             )
               Defendants.                 )

                   MOTION TO WITHDRAW ATTORNEY APPEARANCE

        Defendant, Board of Education of the City of Chicago (“Board”), files this Motion to

Withdraw Attorney Appearance of Kathryn Kohls and states:

        1.       Assistant General Counsel Kathryn Kohls, who appeared for the Board in this case, is

leaving the Board for another job opportunity effective March 20, 2020. The Board therefore requests

that the Court withdraw Ms. Kohls’ appearance and remove her from the list of attorneys designated

to receive notice of filings in this case.

        2.       The Board will continue to be represented by its attorneys of record. Therefore,

granting this request will not prejudice Plaintiff.

                                             CONCLUSION

        The Board respectfully requests that the Court grant this Motion, withdraw the appearance of

Ms. Kohls and award the Board all other relief to which it may be entitled.
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Dated: March 18, 2020.                         Respectfully submitted,

                                               DEFENDANT BOARD OF EDUCATION OF
                                               THE CITY OF CHICAGO

                                               Joseph T. Moriarty, General Counsel

                                       By:     /s/ Kathryn Kohls
                                               Kathryn Kohls, Assistant General Counsel
                                               Board of Education of the City of Chicago
                                               Law Department
                                               1 North Dearborn Street, Suite 900
                                               Chicago, Illinois 60602
                                               Telephone: 773-553-1700

                                  CERTIFICATE OF SERVICE

        I certify that I caused the foregoing document to be sent to all pro se parties and attorneys of
record via the Court’s electronic notification system on March 18, 2020.

                                       By:     /s/Kathryn Kohls
                                               Kathryn Kohls, Assistant General Counsel




                                                   2
